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                                                       U.S. Department of Justice


                                                       Joshua S. Levy
                                                       Acting United States Attorney
                                                       District of Massachusetts



Main Reception: (617) 748-3100                         John Joseph Moakley United States Courthoiise
                                                       1 Coitfthoiise Way
                                                       Suite 9200
                                                       Boston, Massachusetts 02210


                                                       September 24, 2024

Forest O'Neill-Greenberg
Assistant Federal Public Defender
Officer of the Federal Defender
51 Sleeper Street, #5
Boston, MA 02210

       Re: United States v. Alexander Giannakakis
             Criminal No. 21-cr-10271-PBS

Dear Counsel:


        The United States Attorney for the District of Massachusetts (the "U.S. Attorney") and your
client, Alexander Giannakakis ("Defendant"), agree as follows, pursuant to Federal Rule of
Criminal Procedure ("Rule") ll(c)(l)(C):

        1.       Change of Plea


        At the earliest practicable date, Defendant will plead guilty to Counts Three, Four, and Five
of the Indictment: Concealment of Records in a Federal Investigation, in violation of 18 U.S.C.
§ 1519; Tampering with Documents and Objects, in violation of 18 U.S.C. § 1512(c)(l); and
Tampering with an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2). Defendant admits
that Defendant committed the crimes specified in these counts and is in fact guilty of each one.

        The U.S. Attorney will dismiss Counts One and Two of the Indictment after sentencing, so
long as the Court accepts this plea agreement and sentences defendant within the agreed-upon
sentencing range.


       2.        Penalties

        Defendant faces the following maximum penalties for each count, Counts Three, Four, and
Five: incarceration for twenty years; supervised release for three years; a fine of $250,000; a
mandatory special assessment of $100; restitution; and forfeiture to the extent charged in the
                                                  1
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Indictment.


        Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant's immigration status. Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant's plea results in being automatically
removed from the United States.

           3. Rule 11 (c)([)(C) Plea

       In accordance with Rule 1 l(c)(l)(C), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attorney may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant's plea for any other reason.

        Should the U.S. Attorney void the agreement and/or Defendant moves to withdraw
Defendant's guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,
the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

           4. Sentencing Guidelines

        The parties have no agreement regarding the application of the Sentencing Guidelines. The
parties agree to set forth their respective positions regarding the application of the Sentencing
Guidelines within one week of receiving the final Presentence Report, The parties agree to jointly
request that the final Presentence Report be completed no later than 14 days prior to the sentencing
hearing.


        Defendant understands that the government will object to any reduction in Defendant's
sentence based on acceptance of responsibility, and may be released from the parties' agreed-upon
disposition in Paragraph 5 if: (a) at sentencing. Defendant (directly or through counsel) indicates
that Defendant does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which Defendant is pleading guilty; or (b) by the time of
sentencing, Defendant has committed a new federal or state offense, or has in any way obstructed
justice.


        Nothing in this Plea Agreement affects the U.S. Attorney's obligation or ability to provide
the Court and the U.S. Probation Office with accurate and complete information regarding this
case, including but not limited to, any evidence relevant to the factors set forth at 18 U.SC. § 3553.

           5. Agreed Disposition

           The parties agree to a sentence in the following range:

                  a) incarceration for no less than 36 months and no more than 48 months;
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                b) a fine within the Guidelines sentencing range as calculated by the Court at
                    sentencing, unless the Court finds that Defendant is not able, and is not likely
                    to become able, to pay a fine;

                c) 36 months of supervised release;

                d) a mandatory special assessment of $300, which Defendant must pay to the Clerk
                    of the Court by the date of sentencing; and

                e) no restitution or forfeiture.


         Defendant agrees that all criminal monetary penalties, including special assessment,
restitution, forfeiture, and/or fine imposed shall be due and payable immediately, and further
agrees that any Court-ordered repayment schedule does not preclude further enforcement or
collection by the United States.


       Pursuant to 18 U.S.C. § 3585(b), the parties agree that Defendant shall receive credit for
time served in custody in Sweden, if such time was served exclusively for his detention in this
matter while awaiting extradition and such time was not credited against any sentence imposed in
connection with a crime committed outside the United States. Determinations under 18 U.S.C. §
3585(b)(l) are made by the U.S. Department of Justice, Bureau of Prisons ("BOP"). If BOP
declines to give Defendant credit for time he served in Swedish custody while awaiting extradition
on this matter, and the terms of this paragraph otherwise apply, the Government will not object to
the Defendant s request to move the Court to revise Defendant s sentence so that it may reflect
credit for time served in Sweden awaiting extradition on this matter.

      Based on information known to the U.S. Attorney at the time of the execution of this
agreement, the U.S. Attorney has no objection to Defendant travelling to and residing in the
Kingdom of Sweden during his period of supervised release, so long as the Probation Office agrees
to such a modification.


       6. Waiver of Appellate Rights and Challenges to Conviction or Sentence

       Defendant has the right to challenge Defendant's conviction and sentence on "direct
appeal." This means that Defendant has the right to ask a higher court (the "appeals court") to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant's conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant s conviction or sentence should be overturned.


        Defendant understands that Defendant has these rights, but now agrees to give them up,
Specifically, Defendant agrees that:

               a) Defendant will not challenge Defendant's conviction on direct appeal or in any
                   other proceeding, including in a separate civil lawsuit; and
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                b) Defendant will not challenge Defendant's sentence, including any court orders
                   related to forfeiture, restitution, fines or supervised release, on direct appeal or
                   in any other proceeding, including in a separate civil lawsuit.

        The U.S. Attorney agrees not to appeal the imposition of the sentence within the range
agreed to by the parties in paragraph 5.

         Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant's conviction and sentence will be final when the Court issues a written judgment after
the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant's conviction and sentence regardless
of whether Defendant later changes Defendant's mind or finds new information that would have
led Defendant not to agree to give up these riphts in the first place.


       Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.


        The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant's lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant's conviction or sentence overturned.


        7. Civil Liability

       This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant's criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

        8. Breach of Plea Agreement


        Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant's pre-trial release or commits any crime following
Defendant's execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant's guilty plea. Defendant's conduct, however, would give the U.S. Attorney
the right to be released from the U,S. Attorney's commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant's statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant's case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.


       Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
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before the date of this Agreement.

        9. Who is Bound by Plea Agreement

      This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.


        10. Modifications to Plea Apreement

        This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.




       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Jason A. Casey.


                                                     Sincerely,

                                                    JOSHUA S. LEVY
                                                    Acting United States Attorney

                                             By: A^&ff^a. Pa^i^^t^
                                                    Nadine Pellegrini
                                                    Chief, National Security Unit
                                                    Jared C. Dolan
                                                    Deputy Chief, National Security Unit



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                                                    (feon A. Casey
                                                    John T. McNeil
                                                    Assistant U.S. Attorneys
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                        ACKNOWLEDGMENT OF PLEA AGREEMENT

       I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney's Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have rejected all prior offers to resolve this case.

       I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. I have discussed the Sentencing Guidelines with my lawyer, and I understand the
sentencing ranges that may apply.

       I am satisfied with the legal representation my lawyer has given me, and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

        I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.



                                                     ^-
                                                   Alexander Giannakakis
                                                   Defendant

                                                   Date: A I

       I certify that Alexander Giannakakis has read this Agreement that we have discussed what
it means. I believe Alexander Giannakakis understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that I am aware that the U.S. Attorney, in addition to
this offer, extended an offer to prior counsel to resolve this matter in or about June 2022, while the
defendant was in Sweden and contesting his extradition to the United States. The defendant
reviewed and rejected that offer and it has not been renewed, / /} ,
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                                                   Forest O'Neill-Greenberg
                                                   Attorney for Defendant
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